


THE STATE OF SOUTH CAROLINA



THIS OPINION HAS NO PRECEDENTIAL 
  VALUE.&nbsp; IT SHOULD NOT BE CITED OR RELIED ON AS PRECEDENT IN ANY PROCEEDING EXCEPT 
  AS PROVIDED BY RULE 239(d)(2), SCACR.
THE STATE OF SOUTH CAROLINA
In The Court of Appeals


  
    
      
The
State,&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Respondent,
      
    
  

v.

  
    
      
Demar
Moore,&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellant.
      
    
  


Appeal From Georgetown County
J. Michael Baxley, Circuit Court Judge

Unpublished Opinion No.&nbsp; 2005-UP-084
Submitted February 1, 2005  Filed February 
  4, 2005

APPEAL DISMISSED


  
    
      
Acting Deputy Chief Attorney Wanda P. Hagler, of Columbia, 
  for Appellant.
Attorney General Henry Dargan McMaster, Chief Deputy Attorney 
  General John W. McIntosh, and Assistant Deputy Attorney General Salley W. Elliott, 
  all of Columbia; and Solicitor J. Gregory Hembree, of Conway, for Respondent.
      
    
  


PER CURIAM:&nbsp; Demar Moore was convicted of first degree burglary.&nbsp; He 
  was sentenced to twenty years.&nbsp; Moores appellate counsel filed a brief pursuant 
  to Anders v. California, 386 U.S. 738 (1967).&nbsp; Counsel additionally submitted 
  a petition to be relieved from representation, asserting there are no directly 
  appealable issues of arguable merit.&nbsp; Moore did not file a pro se 
  response with the Court.
After a review of the record pursuant to Anders and State 
  v. Williams, 305 S.C. 116, 406 S.E.2d 357 (1991), we dismiss the appeal 
  and grant counsels petition to be relieved. 
  [1] 
 APPEAL DISMISSED.
 ANDERSON, BEATTY, and SHORT, JJ., concur.

 
   [1]  
    We decide this case without oral argument pursuant to Rule 215, SCACR.


